         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

        AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on July 28, 2016, leaving intact and in effect
for each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence:




       Henry Claude Agnew                           Reg. No. 63179-004
       David Lang Akana                             Reg. No. 91369-022
       Bernard Beard                                Reg. No. 46687-112
         aka Bernard Devon Beard
       Reginald Wendell Boyd, Jr.                   Reg. No. 22813-057
       Carmel Bretous                               Reg. No. 61618-004
       Terry Brown                                  Reg. No. 31347-044
       Willie Chevell Cameron                       Reg. No. 06187-017
       Lewis Clay                                   Reg. No. 53852-019
       Manuel Colon                                 Reg. No. 04341-748
       Kevin County                                 Reg. No. 23388-034
       Nabar Moneek Criam                           Reg. No. 74313-053
       Amos Embress Cyrus                           Reg. No. 87192-071
       Roy Lee Debose                               Reg. No. 10371-035
       Dexter Lanoyd Dickens                        Reg, No. 01640-017
       Andre Ester                                  Reg. No. 15767-179
       Christopher Tim Florence                     Reg. No. 22509-057
       Lamont Dumilie Glass                         Reg. No. 16178-074
       Vander Keith Gore                            Reg. No. 97730-071
       George Michael Gray                          Reg. No. 23902-086
       Jerome Harris, Jr.                           Reg. No. 08954-003
       Vernon Harris                                Reg. No. 49185-066
       Kenneth G. Harvey                            Reg. No. 05682-045
       Andrew Lee Holzendorf                        Reg. No. 10331-017
       Tommy Howard                                 Reg. No. 03771-061
       Kenneth Isaacs                               Reg. No. 18540-009
       Robert Lee Lane                              Reg. No. 10595-018
       Angela LaPlatney                             Reg. No. 08713-091
       Byron Lamont McDade                          Reg. No. 23830-016
       Gregory Morgan                               keg. No. 53865-019
       Larry Nokes                                  Reg. No. 14617-026
       Wayne Parker                                 Reg. No. 61163-004
         aka Wayne Ryals
       Carol Denise Richardson                      Reg. No. 16753-179
       Jose Ramon Rivera                            Reg. No 04152-424
       Jeffrey Sapp                                 Reg. No. 55956-004
       Eric Smith                                   Reg. No, 14755-076
       Ernest Spiller                               Reg. No. 04853-025
       Tairone Traniel Stanford                     Reg. No. 07316-078
       Alohondra Rey Staton                         Reg. No. 19476-056
         aka Alohondra Ray Staton
       Corey R. Thomas                              Reg. No. 30498-044



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       Damion L. Tripp                               Reg. No. 03299-044
       Dwayne Twane Walker                           Reg. No. 06431-084
         aka Duane Tuane Walker
       Shermaine Donnell Whitley                     Reg. No. 99074-071
       Sammy Lee Woods                               Reg. No. 30425-013
       Christopher Michael Wright                    Reg. No. 67154-065
       Michael A. Yandal                             Reg. No. 09005-033


        I hereby further commute the total sentence of imprisonment each of the following
persons is now serving to expire on July 28, 2016. I also remit the unpaid balance of the fine
imposed on each named person. I leave intact and in effect for each named person the term of
supervised release imposed by the court, with all its conditions and all other components of each
respective sentence:

       Curtis Greer                                  Reg. No. 20313-179
       Herbert Lewis, Jr.                            Reg. No. 07222-062
       John E. Milton, III                           Reg. No. 24395-034
       Exdonovan Peak                                Reg. No. 08770-005
       Melissa Ross                                  Reg. No. 24736-018

       I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to expire on March 30, 2017, leaving intact and in effect for each
named person all other components of each respective sentence. I also direct the Bureau of
Prisons to place each of the following persons on one year of pre-release custody:


       Robert Anthony Anderson                       Reg. No. 02995-033
       Anthony Lee Lewis                             Reg. No. 17215-018


       I hereby further commute the total sentence of imprisonment each of the following
persons is now serving to expire on March 30, 2017. I also remit the unpaid balance of the fine
imposed on each named person. I leave intact and in effect for each named person all other
components of each respective sentence. I also direct the Bureau of Prisons to place each of the
following persons on one year of pre-release custody:

       Marvin Bailey                                 Reg. No. 05193-088
       Alvin Cordell                                 Reg. No. 02718-061

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        I hereby further commute the total sentence of imprisonment imposed upon Nathan
Carter, Reg. No. 14989-076, in Docket No. 2:98CR20237-001 in the Western District of
Tennessee to expire on July 28, 2016 leaving intact and in effect the 10-year term of supervised
release with all its conditions and all other components of the sentence. also commute the total
30-month supervised release violation sentence imposed upon the said Nathan Carter, Reg. No.
14989-076, in Docket No. 2:94CR20285-JPM-1 in the Western District of Tennessee, leaving
intact and in effect the 18-month term of supervised release with all its conditions and all other
components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Ian
Kavanaugh Gavin, Reg. No. 09580-003, to expire on July 28, 2016. I also commute the eight-
year term of supervised release imposed upon the said Ian Kavanaugh Gavin to a term of four
years of supervised release. I leave intact and in effect all conditions of the supervised release
and all other components of the sentence.




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        I hereby further commute the total sentence of imprisonment imposed upon Isadore
Gennings, Reg. No. 03394-061, to expire on July 28, 2016. I also commute the 10-year term of
supervised release imposed upon the said Isadore Gennings to a term of five years of supervised
release. I leave intact and in effect all conditions of the supervised release and all other
components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Michael W.
Morris, Reg. No. 31347-039, to expire on July 28, 2016. I also commute the 10-year term of
supervised release imposed upon the said Michael W. Morris to a term of five years of
supervised release. I leave intact and in effect all conditions of the supervised release and all
other components of the sentence.

       I hereby further commute the total sentence of imprisonment imposed upon Ismael Rosa,
Reg. No. 05947-424, to expire on March 30, 2017, leaving intact and in effect all other
components of the sentence. I also direct the Bureau of Prisons to place the said Ismael Rosa on
one year of home confinement.

        I hereby further commute the total sentence of imprisonment imposed upon Robin
Evette Shoulders, Reg. No. 08188-033, to expire on September 26, 20169 leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Jesse
Webster, Reg. No. 08899-424, to expire on September 26, 2016. I also remit the unpaid balance
of the $25,000 fine imposed upon the said Jesse Webster. I leave intact and in effect the five-
year term of supervised release with all its conditions and all other components of the sentence.


        I HEREBY DESIGNATE, direct, and empower the Acting Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                     Done at the City of Washington this thirtieth
                                                     day of March in the year of our Lord
                                                     Two thousand and sixteen and of the
                                                     Independence of the United States the
                                                     two hundred and fortieth.




                                                        BARACK OBAMA
                                                           President




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